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                                                                                               18-cv-2358-JWL-GEB




                                          CONSENT DECREE

       The United States of America, on behalf of the Secretary of Agriculture (Plaintiff), and

Plainville Livestock Commission, Inc. (Plainville), and Mr. Tyler D. Gillum (collectively,

Defendants) enter into this Consent Decree to resolve the claims arising under the Packers and

Stockyards Act   of   I 921   , as amended, 7 U.S.C.   $   $ I 8l et seq. (hereinafter, the P&SA or the Act)

in the above-captioned case. Plaintiff is represented by Assistant United States Attorney Jason

Oller. Defendants were represented in negotiations by JeffTodd, esquire, of McAfee & Taft, who

is not signing the consent decree only because he is not licensed in the United States        District Court

for the District ofKansas. Plaintiffand Defendants are collectively referred to as the "parties".

       The parties hereby state as follows:

       I   .   This Court has jurisdiction over this action pursuant to 29 U.S.C. $ I 331 because

this action arises under the laws of the United States and pursuant to 28 U.S.C. $ 1345 because

this action has been commenced by the United States. In addition, Section 404 of the P&SA (7

U.S.C. $ 224) empowers the Attorney General of the United States to initiate proceedings under

the Act to be commenced in the proper courts       ofthe United       States.
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         2.      The P&SA authorizes the Plaintiffto regulate the conduct ofpackers, swine dealers,

live poultry dealers, stockyard owners, market agencies, and dealers as those terms are defined in

the Act.

         3.      Defendant Tyler D. Gillum is the President and owner           of Plainville, which    rs


engaged in the business      ofa market agency as defined in Section 301(c) ofthe P&SA (7 U.S.C.        $


201(c)). Gillum is responsible for the direction, management, and control of Plainville and thus is

engaged in the business      ofa market agency as defined in Section 301(c) ofthe Act.

         4.      Section 307(a) ofthe Act (7 U.S.C. $ 208(a)) states,     "lt shall be the duty ofevery

.   . . market agency to establish, observe, and     enforce   just, reasonable, and nondiscriminatory

regulations and practices in respect to the furnishing of stockyard services and every unjust,

unreasonable, or discriminatory regulation or practice is prohibited and declared to be unlawful."

         5.      Section 312(a) ofthe Act (7 U.S.C. S 213(a)) also makes       it "unlawful for any . . .

market agency, or dealer to engage in or use any unfair, unjustly discriminatory, or deceptive

practice or device in connection        . . . with the receiving,   marketing, buying, or selling on    a


commission basis."

         6.      Section 201.42(a)    ofthe regulations (9 C.F.R.    $ 201.a2(a)) promulgated pursuant

to the P&SA requires that "[e]very market agency engaged in selling livestock on a commission

or agency basis shall establish and maintain a separate bank account as 'Custodial Account for

Shippers' Proceeds,' . . . . to disclose that the depositor is acting as a fiduciary and that the funds

in the account are trust funds."

           7.    Section 201.42(c) of the regulations (9 C.F.R. $ 201.a2(c)) requires a market

agency to deposit in its "custodial account before the close of the next business day          . . . after

livestock is sold   (l)   the proceeds from the sale of livestock that have been collected, and (2) an
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amount equal to the proceeds receivable from the sale ol livestock that are due from (i) the market

agency,    (ii) any owner, officer, or employee ofthe market agency, and (iii) any buyer to whom the

market agency has extended credit. The market agency shall thereafter deposit in the custodial

account    all proceeds collected until the account has been reimbursed in                   full." If the proceeds
receivable from livestock sales cannot be collected and deposited into a market's custodial account

by the close of the seventh day after the sale, section 20 I .42(c) requires the market to make up the

shortfall and reimburse the custodial account for the unpaid receivables.

          8.     Section 201.42(d)         of the regulations (9 C.F.R. S 201 .42(d) prohibits               market

agencies from using the proceeds from the sale of livestock sold on a commission basis for any

purpose other than paying consignors the net proceeds from the sale of their livestock, after

deducting the market's lawful charges.

          9.     The U.S. Department of Agriculture's administrative case law has consistently

found that the failure    ofa   market agency to maintain its custodial account in accordance with the

requirements of section 201.42 is a violation of sections 307 and 312(a) of the Act (7 U.S.C. $$

208, 213(a)). See    In   Re: Perkins Livestock,        LLC, & Robb Taylor, Respondents, Docket No. l3-

0134, 2013 WL 2148057, at +2 (USDA Apr. 24, 2013); In re; Porter,                          47 Agric. Dec. 656. 672

(1988); In re: Blackfoot Livestock Commission Co.,45 Agric. Dec. 590, 60a                    (986), aff'd   810 F.2d

916 (9th   Cir. 1987); In   Re: Farmers Livestock         Auction, Inc.,45 Agric. Dec. 692,701 (1985);              Ir
re: Powell,4l Agric. Dec. 1354,           l36l   (1982); lnre: Arab Stock Yard,37 Agric. Dec.293,301-

02,310-02,310-l I (1978), alfd 582 F.2d 39 (5th Cir. 1978); In re: Sechrist Sales Co.,36 Agric.

Dec.665,666,671-75(1977);Inre: Harry C. Hardy,33 Agric. Dec. 1383,                            1398- 1406 ( 1974).

          10.    Section   3 I 2(b)   of the Act (7   u.s.c.   g 2 r 3(b)) states,   "[w]henever complaint is made

to the Secretary by any person! or whenever the secretary had reason to believe, that any stockyard
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owner, market agency, or dealer is violating the provisions of [section      3   l2(a)], the Secretary after

notice and full hearing may make an order that he shall cease and desist from continuing such

violation that the Secretary finds that it does or will exist. The Secretary also may assess a civil

penalty of not more than                I for each such violation."
                            $ I 1,000


       11.      On October 22, 2012, an Administrative Law Judge (ALJ) of the USDA, acting for

the Secretary, under authority delegated to him by the Secretary to perform regulatory functions,

issued a Consent Decision and Order in          In re: Plainville Livestock Commission, Inc., and Tyler

Gillum. P&S Docket No. 12-0546 (2012 Consent Decision).

       lZ.     The 2Ol2 Consent Decision ordered Defendants to cease and desist from             (I   ) failing

to maintain their custodial account for shippers' proceeds (custodial account) in conformity with

the requirements of 9 C.F.R. $ 201.42, (2) failing to deposit in their custodial account amounts

equal to the outstanding proceeds receivable from the sale ofconsigned livestock within the times

prescribed by 9 C.F.R. $ 201 .42, and (3) using funds received from the sale ofconsigned livestock

for the payment ofbank fees or for any purpose other than payment to consignors ofthe amount

due from the sale   oftheir livestock    and the payment    of lawful marketing charges.

       13.     On March 4.2014, an ALJ of the USDA, acting for the Secretary, under authority

delegated   to him by the   Secretary to perform regulatory functions, issued a Decision without

Hearing by Reason of Consenlin In re: Plainville Livestock Commission, Inc., and Tyler Gillum,

P&S Docket Nos. 14-0076 and 14-0077 (2014 Consent Decision).




         rAs required by Pub. L. l0l-410 and 104-134, 7 C.F.R. $ 3.91 amended the civil penalties
in this section fiom $10,000 to a maximum of $l I ,000, effective for violations occurring after
                                                                                                 May
7.2010.
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         14.   The 2014 Consent Decision, in pertinent part, ordered Defendants to cease and

desist from failing to properly maintain their custodial account in strict conformity with the P&SA

and 9 C.F.R. 5201.42.

         15.   Defendants acknowledge that the prior Orders         ofthe   Secretary   of Agriculture in

P&S Docket Numbers 12-0546 and XX-XXXXXXX-0077 were lawfully entered and duly served.

Additionally, they agree to the entry of this Consent Decree without a hearing.

         16.   The United States alleges that Defendants violated the Act and regulations as it

relates to their obedience to two orders   of the Secretary of Agriculture that directed them to

maintain their custodial account for shippers' proceeds in full compliance with all statutory and

regulatory requirements as alleged in the Complaint and as specified as herein. Defendants deny

the allegations, but a$ee to the entry of this Consent Decree to avoid the costs and uncertainty        of

litigation.

         17.   Plaintiff contends that the allegations   in   the complaint show that, while operating

as a market agency selling livestock on commission, Defendants failed to maintain their custodial

account in strict conformity with the requirements of sections 307 (a) (7 U.S.C. $ 208(a)) and

312(a) (7 U.S.C. $ 213(a)) of the P&SA and section 201.42 (9 C.F.R. g 201.42) of the regulations,

as they consistently allowed large shortages to accrue in the custodial account and permitted

unlawful charges, namely bank fees, to regularly be deducted from the custodial account.

Defendants also failed to remit sales proceeds before the close of the next business day following

the sale in violation of section 312(a) of the P&SA and section 201.43 (9 C.F.R.        Q   201.43) of the

regulations.
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          18.      Plaintiff further alleges that the conduct alleged in the complaint establishes that

Defendants knowingly violated the 2012 and 2014 Consent Decisions. In doing so they also

knowingly failed to obey an order under Section 312(b) ofthe Act (7 U.S.C. $ 213(b)).

          I   9.   Section   3I   4(a) of the Act (7 U.S.C. $ 2l 5) states, "[a]ny stockyard owner, market

agency, or dealer who knowingly fails to obey any order made under the provisions of sections

211,212, or 213 of this title shall forfeit to the United States the sum of$7502 for each offense.

Each distinct violation shall be a separate offense, and in case of a continuing violation each day

shall be deemed a separate oflfense. Such forfeiture shall be recoverable in a civil suit in the name

of the United States." Based on the available evidence, Plaintiffalleges that the violation occurred,

at a minimum, over the course          of   157 days.


          20.      Section 315 ofthe Act (7 U.S.C. $ 216) further provides,      "Ifany   stockyard owner,

market agency, or dealer fails to obey any order of the Secretary other than for the payment            of

money while the same is in effect, the . . . United States . . . may apply to the district court for the

d   istrict in wh ich such person has his princ ipal place of business for the enforcement of such order.

If after hearing the court determines that the order was lawfully made and duly served and that

such person is in disobedience of the same, the court shall enforce obedience to such order by           a


writ of injunction or other proper process, mandatory or otherwise, to restrain such person, his

officers, agents, or representatives from further disobedience of such order or to enjoin upon him

or them obedience to the same."

          21.      The parties agree that this Consent Decree is intended to resolve and release only

the USDA's claim that Defendants violated the Packers and Stockyards Act and associated


         The penalty was amended by 7 c.F.R. $ 3.91(b)(6)(v) (effective May 7,2010) pursuant
          2

to Pub. L. Nos. l0l--410 and 104-134. The penalty of $750 is effective for violations of section
314(a) ofthe Act that occurred beginning on May 8,2010
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regulations in the manner outlined in the complaint and above. The United States does notresolve

or release any other claim or liability, even ifarising from the same or similar facts, including any

claim or liability arising under Title 26, U.S. Code (lntemal Revenue Code); any criminal claim

or liability; any administrative claim or liability; any claim or liability to the United States (or its

agencies) for any conduct other than what is intended to be resolved by this Consent Decree; any

claim or liability based upon obligations created by this consent decree; or any claim or liability

of individuals. The parties further agree that Plainville and Mr. Gillum waive and shall not assert

any defenses they may have to any criminal prosecution or administrative action relating to the

conduct underlying this suit that may be based in whole or in pa( on a contention that, under the

Double Jeopardy Clause in the Fifth Amendment ofthe Constitution, or under the Excessive Fines

Clause in the Eighth Amendment of the Constitution, this Consent Decree bars a remedy sought

in such criminal prosecution or administrative action. Nothing in this paragraph or any other

provision of this Consent Decree constitutes an agreement by the United States conceming the

characterization ofthe Consent Decree for purposes ofthe Intemal Revenue laws, Title 26 ofthe

United States Code.

          22.   Defendants acknowledge the sufficiency of Plaintiffs allegations and evidence that

would enable Plaintiffto seek a civil penalty and injunctive relief. Civen rhe mutual desire of the

parties is to resolve the allegations made in the complaint in the above-captioned case without the

need for further litigation, the parties agree to an order    ofthe Court   as set forth below.

         Based on the Agreemenr of the parties,   it   is   ORDERED, ADJUDGED, AND DECREED

as   follows:

         23.    Defendants are hereby permanently enjoined from further violating the orders         of
the secretary of Agriculture that were issued in In re; plainville Liveslock Commission,
                                                                                         Inc., and
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Tyler Gillum, P&S Docket No. l2-0546, and In re: Plainville Livestock Commission, lnc., and

Tyler Gillum, P&S Docket Nos . 14-0076 and 14-0077              .



         24.    Defendants are further permanently enjoined from engaging in business, within the

meaning of the P&SA, in any capacity without properly maintaining their custodial account for

shipper's proceeds in strict conformity with the Act and 9 C.F.R. $ 201.42. Said conformity shall

include keeping the account balanced, meaning that the custodial account's balance is $0 or greater

per an analysis done by the Packers and Stockyards Division.

         25.    Defendants are further permanently enjoined from issuing checks or any other kind

of   payment instrument     in   purported payment         of       livestock purchases without having and

maintaining sufficient funds on deposit and available in the custodial account upon which such

checks   or instruments are drawn to pay the checks or instruments when they are presented for

payment, in strict conformity with the Act and 9 C.F.R. $ 201.42.

         26.    Defendants are further permanently enjoined from engaging in business, within the

meaning of the P&SA, in any capacity without properly remitting sales proceeds before the close

of the next business day following the sale, in strict conformity with the Act and 9 C.F.R. $ 201.43.

         27.    Defendants are further permanently enjoined from engaging in business, within the

meaning ofthe P&SA, in any capacity without properly maintaining all business records required

by the Act and regulations to allow the USDA to determine whether Defendants are properly

maintaining their custodial account in strict conformity with the Act and 9 C.F.R. !j 201.42.

Pursuanr to section 40   I of the Act (7 u.s.c.   Q   22   l), Defendants shall keep and maintain all scale

tickets, purchase and sale invoices, balance sheets, income statements, monthly reconciliations,

and any and all other documents necessary to fully and accurately disclose all purchases
                                                                                         and

                                                                                                 and
payments for livestock, sales of livestock, and all other transactions involved in the business,
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shall make all such documents available to the Packers and Stockyards Division when lawlully

requested to do so.

          28.      ln settlement ofthe civil penalties that Plaintiff contends are due, Defendants agree

to a civil penalty in the amount $l17,750.00 (one-hundred-seventeen thousand seven-hundred-

fifty dollars).

          29.      Plaintiff shall pay S50,000.00 (fifty thousand dollars) of that amount in six equal

installments of $8,333.33 (except for the first payment, which shall be $8,333.36). The first

installment shall be due on the first of the month after the month in which this Consent Decree is

signed and filed by the Court. For instance,      ifthis Consent Decree is signed   and filed   atanypoint

in July, then the first payment    will   be due August   1,2018. Every payment thereafter shall be due

on the first ofeach consecutive month until the total of$50,000.00 has been paid. Payment shall

be sent to: Attention Financial Litigation Unit,444 S.E. Quincy, Suite 290, Topeka, KS 66683,

with a copy of this consent decree.

          30.      The remaining S67,750.00 (sixty-seven thousand seven-hundred-fifty dollars) of

the civil penalty will be held in abeyance for six years from the date that the Consent Decree is

signed and filed by the Court. After six years, the penalty shall be deemed discharged. The penalty

will   accrue interest at the rate computed under28 U.S.C. $ 1961.      Itshall become immediately due

and payable in     full upon a court finding that Defendants have violated this Consent Decree,      as long

as the   violation occurs before the penalty is discharged.

          3l   .   Defendants agree to suspend their market agency operations, including any and all

consignment sales subject to the PS&A and regulations, for a period of two consecutive regularly

conducted sales occurring on July 24 and July 3l      . Defendants shall not set any   special or additional

sales between J uly I 8 and August 6 to      nullify or avoid the effect of the suspended   sales.
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       32.     Any future violations of sections 307 and 312 of the P&SA, 9 C.F.R. $ 201.42, the

2012 Consent Decision, the 2014 Consent Decision. and this Consent Decree may result in the

assessment of additional   civil penalties and/or contempt actions   as this Court deems appropriate.


Given Defendants' prior conduct, if this Court ever finds that Defendants have acted in contempt

of this Court's order, the parties agee that suspension from operating under the Act in any capacity

for at least eight (8) consecutive, regularly scheduled livestock sales would be an appropriate part

ofany relief, remedy, or means ofgaining compliance with the Court's order, even if it is for the

first such contempt proceeding. If Defendants contest Plaintifl's determination of any future

violation, they may contest the determinations through written motions with this Court.

       33.     This Order shall remain in effect and the Court shall retain jurisdiction for the

purpose ofenforcing this Decree.

       34.     Each   of the parties to this Consent Decree shall bear its/their own attomey's fees

and costs, including the preparation and performance   ofthis Consent Decree.

       IT IS SO ORDERED,        this
                                   12thday of July,2018

                                                           John W. Lungstrum
                                                      United States District Judge
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Agreed to and Respectfully Submitted by:




 ssistant United States Attomey




Indivjdualty with advice of counsel



O"vner and President of Plainville Livesrock Comtnissir:n, Iuc u'itir rdvice o1 e ounsel
